Case 1:25-cr-20102-RAR Document 42 Entered on FLSD Docket 05/07/2025 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                 CASE NO.: 25-CR-20102-RAR



 UNITED STATES OF AMERICA
        Plaintiff,
 vs.


 JOSE EZEQUIEL GAMEZ-MARAVILLA, ET AL.,
        Defendants.
  _______________________________________ /



                                  NOTICE OF APPEARANCE

         COMES NOW, the United States of America, by and through the undersigned Assistant

  United States Attorney, noticing this Honorable Court that the undersigned will appear as counsel

  on the above captioned case.



                                                      Respectfully submitted,

                                                     HAYDEN P. O’BYRNE
                                                     UNITED STATES ATTORNEY

                                               By:    /s/ Elena Smukler
                                                      Elena Smukler
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Case 1:25-cr-20102-RAR Document 42 Entered on FLSD Docket 05/07/2025 Page 2 of 2




                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on May 7, 2025, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF.


                                            By:    /s/ Elena Smukler
                                                   Elena Smukler
                                                   Assistant United States Attorney
